                              Case 23-11328-JKS                       Doc 1        Filed 08/28/23            Page 1 of 22

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    # Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Facultas Analytics, S.A.P.I. de C.V.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                N/A___ – ___ ___ ___ ___ ___ ___ ___
                                              ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                             Av.  Sierra Vista 1305, piso 4, int 8
                                             ______________________________________________                _______________________________________________
                                              Number         Street                                        Number     Street

                                                  Colonia Lomas del Tecnológico, CO 78215
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  San Luis Potosi Mexico
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.agilethought.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        _______________________________________________________
               Facultas Analytics SAPI de CV                                                Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5415___ ___ ___
                                             ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




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Debtor          Facultas Analytics SAPI de CV
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        x No
                                         #
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
                                         #              See attached schedule
                                         x Yes. Debtor _____________________________________________               Affiliates
                                                                                                     Relationship _________________________
      business partner or an
      affiliate of the debtor?                               Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  # It needs to be physically secured or protected from the weather.
                                                  # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  # Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  # No
                                                  # Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             Facultas Analytics SAPI de CV
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     # Funds will be available for distribution to unsecured creditors.
                                         # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         # 1-49                             # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                         # 50-99                            # 5,001-10,000                              # 50,001-100,000
     creditors
                                         # 100-199                          # 10,001-25,000                             # More than 100,000
                                         # 200-999

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        08/28/2023
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         " /s/ James S. Feltman
                                             _____________________________________________
                                                                                                         James S. Feltman
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




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Debtor       Facultas Analytics SAPI de CV
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      " /s/ Jeremy W. Ryan
                                          _____________________________________________            Date       08/28/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Jeremy W. Ryan
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Potter Anderson & Corroon LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1313        North Market Street, Sixth Floor
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 984-6000
                                         ____________________________________                             jryan@potteranderson.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4057
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                             Schedule 1

PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY THE DEBTOR AND
                        ITS AFFILIATES

    On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion is being filed with the
Court requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

    •    AgileThought, Inc.
    •    AN Global LLC
    •    4th Source Holding Corp
    •    4th Source Mexico, LLC
    •    4th Source, LLC
    •    AgileThought Argentina, S.A.
    •    AgileThought Brasil-Consultoria Em Tecnologia LTDA
    •    AgileThought Brasil Servicos de Consultoria Em Software
    •    AgileThought Costa Rica, S.A.
    •    AgileThought Digital Solutions, S.A.P.I. de C.V.
    •    AgileThought México, S.A. de C.V.
    •    AgileThought, LLC
    •    AgileThought Servicios Administrativos, S.A. de C.V.
    •    AgileThought Servicios Mexico, S.A. de C.V.
    •    AGS Alpama Global Services México, S.A. de C.V.
    •    AGS Alpama Global Services USA, LLC
    •    AN Data Intelligence SA de CV
    •    AN Extend, S.A. de C.V.
    •    AN Evolution S. de R.L. de C.V.
    •    AN USA
    •    AN UX, S.A. de C.V.
    •    Anzen Soluciones, S.A. de C.V.
    •    Cuarto Origen, S. de R.L. de C.V.
    •    Entrepids México, S.A. de C.V.
    •    Entrepids Technology Inc.
    •    Facultas Analytics, S.A.P.I. de C.V.
    •    Faktos Inc, S.A.P.I. de C.V.
    •    IT Global Holding LLC
    •    QMX Investment Holdings USA, Inc.
    •    Tarnow Investment, S.L.
    •    AgileThought, S.A.P.I. de C.V.




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re                                                       Chapter 11

  FACULTAS ANALYTICS, S.A.P.I. DE C.V.                        Case No. 23-_______ (___)

                     Debtor.                                  (Joint Administration Requested)



                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

        Pursuant to Federal Rules of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.
______________________________________________________________________________


☐ None [check if applicable]



 Name:               IT Global Holding LLC
 Address:            222 West Las Colinas
                     Boulevard, Suite 1650E,
                     Irving, TX 75039




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  In re                                                        Chapter 11

  FACULTAS ANALYTICS, S.A.P.I. DE C.V.,                        Case No. 23-_______ (___)

                 Debtor.                                       (Joint Administration Requested)



                            LIST OF EQUITY SECURITY HOLDERS

                Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 1007(a)(3), the
following persons and entities are equity security holders for Facultas Analytics, S.A.P.I. de C.V., the
Debtor in this case, as of the date hereof:

                                                                        Percentage of Equity
                 Member                        Address
                                                                               Held
                                                                         100% of Series “A”
                                    222 West Las Colinas
                                                                              Shares
          IT Global Holding LLC     Boulevard, Suite 1650E,
                                                                        99.96% of Series “P”
                                    Irving, TX 75039
                                                                              Shares
                                    Av. Jorge Jiménez Cantú
                                    S/N, Edificio 2B, Despacho
                                    324, Hacienda de Valle
          AgileThought Digital                                          0.004% of Series “P”
                                    Escondido, CP. 52937,
          Solutions SAPI de CV                                                Shares
                                    Atizapán de Zaragoza,
                                    Ciudad Adolfo López
                                    Mateos, México




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                                         Case 23-11328-JKS                              Doc 1               Filed 08/28/23                        Page 9 of 22


Fill in this information to identify the case:
Debtor name: AN Global LLC, et al.
United States Bankruptcy Court for the District of Delaware
                                                                                                                                                                                              Check if this is an
Case number (If known):                                                                                                                                                                       amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                                             12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of
the 20 largest unsecured claims.

Name of creditor and complete                             Name, telephone number, and                       Nature of the claim    Indicate if      Amount of unsecured claim
mailing address, including zip code                       email address of creditor                         (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                          contact                                           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                                            professional          unliquidated,    total claim amount and deduction for value of
                                                                                                            services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                            government
                                                                                                            contracts)
                                                                                                                                                   Total claim, if        Deduction for        Unsecured
                                                                                                                                                   partially             value of             claim
                                                                                                                                                   secured               collateral or
                                                                                                                                                                         setoff


1    TAX ADMINISTRATION SERVICE (MEXICO)                                                                           TAX             CONTINGENT,                                                $     203,333,138.00
     AV. HIDALGO 77                                       PHONE: (52)-55 627 22 728                                               UNLIQUIDATED,
     COL. GUERRERO                                                                                                                  DISPUTED
     CIUDAD DE MEXICO, 06300
     MEXICO

2    MONROE CAPITAL LLC                                   JEFF CUPPLES                                             FEE                              UNDETERMINED                              $        3,451,615.00
     JEFF CUPPLES                                         PHONE: 312-523-2385
     311 SOUTH WACKER DRIVE SUITE 6400                    FAX: 312-258-8350
     CHICAGO, IL 60606                                    EMAIL: JCUPPLES@MONROECAP.COM

3    MICROSOFT CORPORATION                                EDGAR I. BLANCO                                         TRADE                                                                       $        1,808,548.96
     EDGAR I. BLANCO                                      PHONE: 469-775-0391
     PO BOX 842103                                        EMAIL: EDGARBLANCO@MICROSOFT.COM
     DALLAS, TX 75284

4    EXITUS CAPITAL SAPI DE CV SOFOM ENR                  JACOBO MONTOYA                                           DEBT                             UNDETERMINED                              $        1,580,000.00
     JACOBO MONTOYA                                       PHONE: 55-41709910
     CARRETERA MEXICO-TOLUCA NUMERO 5420,                 FAX: 55-36490804
     PISO 8                                               EMAIL: JMONTOYA@EXITUS.COM
     COLONIA EL YAQUI
     CUAJIMALPA DE MORELOS, CDMX 05320
     MEXICO

5    MAYER BROWN LLP                                      LUCAS GIARDELLI                                    PROFESSIONAL                                                                     $        1,524,203.15
     LUCAS GIARDELLI                                      PHONE: 646-469-4914                                  SERVICES
     230 SOUTH LASALLE ST                                 EMAIL: LGIARDELLI@MAYERBROWN.COM;
     CHICAGO, IL 60604                                    MGOMEZ2@MAYERBROWN.COM

6    COUSINS FUND II TAMPA III, LLC                       JILLIAN TAHAN                                           LEASE                                                                       $        1,130,032.96
     JILLIAN TAHAN                                        PHONE: 813 289 2600
     3344 PEACHTREE RD NE                                 EMAIL: MDESSLER@COUSINS.COM;
     SUITE 1800                                           JTAHAN@COUSINS.COM
     ATLANTA, GA 30326


7    SAP MEXICO SA DE CV                                  OMAR TORRES                                             TRADE                                                                       $        1,106,302.49
     OMAR TORRES                                          PHONE: 52 55 4588 2887
     AV. PASEO DE LA REFORMA 509, PISO 20                 FAX: 52 (81) 8152 1701
     CDMX, 06500                                          EMAIL: OMAR.TORRES01@SAP.COM;
     MEXICO                                               VANESSA.DALMAS@SAP.COM;
                                                          EDUARDA.FORESTA@SAP.COM

8    KORN FERRY                                           MAX KERSHNER, BARBARA JORDAN                       PROFESSIONAL                                                                     $          949,447.96
     MAX KERSHNER, BARBARA JORDAN                         PHONE: 404 577 7542                                  SERVICES
     N50 SUITE 25000 1201 WEST PEACHTREE                  EMAIL: MAX.KERSHNER@KORNFERRY.COM;
     ATLANTA, GA 55402                                    BARBARA.JORDAN@KORNFERRY.COM

9    FACTORING CORPORATIVO SA DE CV SOFO                  L RODRIGUEZ                                          FACTORING                                                                      $          917,592.04
     L RODRIGUEZ                                          PHONE: 55 50810990 EXT 124                           AGREEMENT
     REFORMA NO. 2654 INTERIOR 1003                       EMAIL: LRODRIGUEZ@FACCORP.NET
     REFORMA NO. 2654 INTERIOR 1003
     MEXICO CITY, 11950
     MEXICO

10   KC RENTAS S.A DE C.V                                 RICARDO MENDIETA, ROSALBA CESAREO                       LEASE                                                                       $          828,531.38
     RICARDO MENDIETA, ROSALBA CESAREO                    PHONE: 52 55 5365 5050 EXT 421; 52 55 1525 8836
     10 DE MAYO # 47-A                                    EMAIL: RMENDIETA@KAPALI.COM.MX;
     TLALNEPANTLA DE BAZ, 54080                           RCESAREO@KAPALI.COM.MX
     MEXICO

11   AGS GROUP                                            MAURICIO RIOSECO                                         DEBT                             UNDETERMINED                              $          775,931.61
     MAURICIO RIOSECO                                     EMAIL: MAURICIO.RIOSECO@RW.COM.MX
     907 RANCH ROAD 620 SOUTH, SUITE 302
     LAKEWAY, TX 78734

12   TENNESSEE DEPARTMENT OF REVENUE                      COLLECTION SERVICES DIVISION                             TAX               DISPUTED                                                 $          684,561.00
     COLLECTION SERVICES DIVISION                         PHONE: 844-729-8689
     500 DEADERICK ST                                     EMAIL: REVENUE.COLLECTION@TN.GOV;
     NASHVILLE, TN 37242                                  TDOR.BANKRUPTCY@TN.GOV




Official Form 204                                             Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                      Page 1
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Name of creditor and complete               Name, telephone number, and                Nature of the claim    Indicate if     Amount of unsecured claim
mailing address, including zip code         email address of creditor                  (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                                    debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                       professional          unliquidated,   total claim amount and deduction for value of
                                                                                       services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)
                                                                                                                             Total claim, if        Deduction for        Unsecured
                                                                                                                             partially             value of             claim
                                                                                                                             secured               collateral or
                                                                                                                                                   setoff


13   LINK X S. A. DE C. V.                  BLANCA GOMEZ, JOSÉ LUIS CHACÓN                   TRADE                                                                      $          680,137.59
     BLANCA GOMEZ, JOSÉ LUIS CHACÓN         PHONE: 52 55 7858 0472; 52 55 8868 8713
     JOSE PAGES YERGO                       EMAIL: BIGOMEZ@LINKX.MX;
     LA MAGDALENA 104                       CASEGURA@LINKX.MX; JLCHACON@LINKX.MX
     TOLUCA, 50010
     MEXICO

14   KPMG LLP                               SPENCER FELD                                PROFESSIONAL                                                                    $          566,571.81
     SPENCER FELD                           PHONE: 402-650-3441                           SERVICES
     2323 ROSS AVENUE SUITE 1400            FAX: 214-840-2297
     DALLAS, TX 75201                       EMAIL: SFELD@KPMG.COM;
                                            LACOSTA@KPMG.COM
15   BDO USA, LLP                           TJ NUNEZ                                    PROFESSIONAL                                                                    $          490,070.00
     TJ NUNEZ                               PHONE: 813-302-6622                           SERVICES
     770 KENMOOR SE SUITE 300               EMAIL: CLEWIS@BDO.COM; TNUNEZ@BDO.COM
     GRAND RAPIDS, MI 49546

16   PRICEWATERHOUSECOOPERS                 IVANNA NAZAR                                PROFESSIONAL                                                                    $          462,368.00
     IVANNA NAZAR                           PHONE: 31 06 41587682                         SERVICES
     2121 N. PEARL STREET SUITE 2000        EMAIL: IVANNA.NAZAR@PWC.COM
     DALLAS, TX 75201

17   MICROSTRATEGY MEXICO S DE RL DE CV     LETICIA PEREZ                                    TRADE                                                                      $          434,004.72
     LETICIA PEREZ                          PHONE: 52 55 6827 8367
     JUAN SALVADOR AGRAZ 50 602             FAX: 52-55-4140-6112
     SANTA FE                               EMAIL: LPEREZ@MICROSTRATEGY.COM
     CUAJIMALPA, 05348
     MEXICO

18   ANOVORX                                KYLE P. TRUITT                                 LITIGATION                                                                   $          395,000.00
     KYLE P. TRUITT                         PHONE: 901-359-8896
     1710 N SHELBY OAKS DR SUITE 3          FAX: 901-201-5470
     MEMPHIS, TN 38134                      EMAIL: KYLE.TRUITT@ANOVORX.COM

19   DATAVISION DIGITAL                     NORMA DIAZ                                       TRADE                                                                      $          383,641.94
     NORMA DIAZ                             PHONE: 52 (55) 5273 2903
     AVENIDA PATRIOTISMO 48                 EMAIL: NORMA.DIAZ@DATAVISION.COM.MX
     MIGUEL HIDALGO, 11800
     MEXICO

20   BANCO VE POR MAS, S.A.                 JAVIER GARCIA, SION CHEREM                       TRADE                                                                      $          349,750.17
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     PASEO DE LA REFORMA 243 PISO 21        EMAIL: JAVIER.GARCIA@SIMETRICGI.MX;
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Official Form 204                             Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                Page 2
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 Fill in this information to identify the case and this filing:


              Facultas Analytics, S.A.P.I. de C.V.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         # Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         # Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         # Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         # Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         # Schedule H: Codebtors (Official Form 206H)
         # Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         # Amended Schedule ____

         # Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement, List of Equity Holders
         # Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on _08/28/2023
                      _____________
                           MM / DD / YYYY
                                                           " /s/ James S. Feltman
                                                               _________________________________________________________________________
                                                                Signature of individual signing on behalf of debtor



                                                                 James S. Feltman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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  RESOLUCIONES ADOPTADAS DE MANERA                            UNANIMOUS RESOLUTIONS
     UNÁNIME Y POR ESCRITO POR LA                        ADOPTED BY WRITTEN CONSENT BY THE
    TOTALIDAD DE LOS ACCIONISTAS DE                       TOTALITY OF THE SHAREHOLDERS OF
   FACULTAS ANALYTICS, S.A.P.I. DE C.V.                   FACULTAS ANALYTICS, S.A.P.I. DE C.V.

              27th de agosto de 2023                                     August 27, 2023

De conformidad con lo dispuesto en el artículo 178     Pursuant to the provisions of article 178 of the
de la Ley General de Sociedades Mercantiles y el       General Law of Business Organizations (Ley
artículo cuarenta y cinco de los estatutos sociales    General de Sociedades Mercantiles) and article
de Facultas Analytics, S.A.P.I. de C.V. (la            forty-five of the bylaws of Facultas Analytics,
“Sociedad”), la totalidad de los accionistas de la     S.A.P.I. de C.V. (the “Company”), all of the
Sociedad, cuyos nombres y firmas aparecen en el        shareholders of the Company, whose names and
presente documento, resolvieron adoptar de             signatures appear in this document, resolved to
forma unánime las resoluciones contenidas en el        unanimously adopt the resolutions contained
presente documento.                                    herein.

Considerando, que los Accionistas han tenido la        Whereas, the Shareholders have reviewed and
oportunidad de revisar y hacer aquellas preguntas      had the opportunity to ask questions about the
que han considerado convenientes respecto de           materials presented by the management and the
aquellos materiales presentados por el presidente      legal and financial advisors of the Company
del consejo de administración y por los asesores       regarding the liabilities and liquidity of the
legales y financieros de la Sociedad relativos a las   Company, the strategic alternatives available to it,
obligaciones y liquidez de la Sociedad, las            and the impact of the foregoing on the Company's
alternativas estratégicas disponibles, y el impacto    business; and
que pudieren tener en el negocio de la Sociedad;
y

Considerando, que los Accionistas han tenido la        Whereas, the Shareholders have had the
oportunidad de consultar con la administración y       opportunity to consult with the management and
con los asesores legales y financieros de la           the legal and financial advisors of the Company to
Sociedad aquellas alternativas estratégicas con        fully consider each of the strategic alternatives
las que dispone la Sociedad; y                         available to the Company; and

Considerando, que los Accionistas de la Sociedad       Whereas, the Shareholders of the Company have
han determinado que en el mejor interés de la          determined that it is desirable and in the best
Sociedad y sus acreedores, empleados y otras           interests of the Company and its creditors,
partes interesadas, que la Sociedad presente una       employees, and other interested parties that a
solicitud para sujetarse a los beneficios de           petition be filed by the Company, seeking relief
previstos en el Código de Quiebras; y                  under the provisions of the Bankruptcy Code; and

Considerando que, los Accionistas consideran           Whereas, the Shareholders believe that taking the
que la adopción de las acciones descritas a            actions set forth below is in the best interests of the
continuación resultan en el mejor interés de la        Company and, therefore, desire to approve the
Sociedad, procedieron a adoptar las siguientes         following resolutions.
resoluciones:
                                                                                                         1
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En virtud de lo anterior, se adoptaron y aprobaron In virtue of the foregoing, the following resolutions
de forma unánime las siguientes resoluciones:      were unanimously adopted and approved:

   Primera. Aprobación del comienzo de los                First. Approval of the Commencement of
            Casos del Capítulo 11                                     Chapter 11 Cases

1.1 “Se resuelve autorizar y facultar a la Sociedad    1.1 “It is hereby resolved that the Company be,
para presentar, ante un tribunal competente (el        and hereby is, authorized and empowered to file a
"Tribunal de Concurso"), una declaración               voluntary petition for relief under chapter 11 of the
voluntaria de concurso conforme al Capítulo 11         Bankruptcy Code (such voluntary petition, and the
del Código de Quiebras (dicha declaración              voluntary petitions by the Company’s affiliates,
voluntaria y aquellas declaraciones voluntarias        collectively, the “Chapter 11 Cases”) in a court of
que sean presentadas por las afiliadas de la           proper jurisdiction (the “Bankruptcy Court”).
Sociedad, conjuntamente, los "Casos del
Capítulo 11").

1.2 “Se resuelve, que James S. Feltman es 1.2 “It is hereby resolved, that James S. Feltman
nombrado Director de reestructuración de la is appointed Chief Restructuring Officer (“CRO”) of
Sociedad (“CRO”).”                          the Company.”

1.3 “Se resuelve, que el CRO e indistintamente         1.3 “It is hereby resolved, that the CRO and
Patrick Bartels o James Feltman (la "Persona           indistinctly Patrick Bartels or James Feltman
Autorizada" y conjuntamente las “Personas              (each, an "Authorized Person" and collectively,
Autorizadas”) para que en nombre y                     the "Authorized Persons") hereby is authorized,
representación de la Sociedad, actúen como su          in the name and on behalf of the Company,
representante, y procedan a firmar y presentar en      appointed as the Company's authorized
nombre de la Sociedad, incluyendo en nombre de         representative, and in such capacity, with power of
la Sociedad como accionista, gerente o socio de        delegation, hereby is authorized and empowered
sus subsidiarias, cualesquier declaraciones,           to execute and file on behalf of the Company,
peticiones,     resoluciones,    anexos,     listas,   including in the Company's capacity as
solicitudes, alegatos y cualesquier propuestas,        shareholder, manager, or member of its
instrumentos, acuerdos, consentimientos o              subsidiaries, all petitions, resolutions, schedules,
documentos (y a utilizar firmas electrónicas en los    lists, applications, pleadings and other motions,
mismos, según sea necesario) y llevar a cabo           papers, agreements, consents or documents (and
todas y cada una de las acciones que resulten          to use electronic signatures on any of the
necesarias para obtener dicha declaración de           foregoing as needed), and to take any and all
concurso referida en la resolución inmediata           action that they deem necessary or proper to
anterior, incluyendo sin limitar, cualquier acción     obtain such relief, including, without limitation, any
que resulte necesaria para mantener el curso           action necessary to maintain the ordinary course
ordinario de las operaciones de los negocios de la     operation of the Company's businesses.”
Sociedad.”

    Segunda. Aprobación para contratar a                       Second. Approval of retention of
          asesores profesionales                                       professionals


                                                                                                        2
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2.1 “Se resuelve autorizar e instruir a la Persona    2.1 “It is hereby resolved, that the Authorized
Autorizada para contratar (i) los despachos           Person be, and hereby is, authorized and directed
Hughes Hubbard & Reed LLP y Potter Anderson           to employ (i) the law firms Hughes Hubbard &
& Corroon LLP, como asesor general de las             Reed LLP and Potter Anderson & Corroon LLP, as
reestructuras en los Estados Unidos de América;       general U.S. restructuring counsel; (ii) the law firm
(ii) el despacho Garrigues México, S.C., como         Garrigues México, S.C., as general Mexican
asesor general de la reestructura en México; (iii),   restructuring counsel; (iii) Teneo Capital LLC, as
Teneo Capital LLC, como asesor financiero; (iv)       financial advisor; (iv) Guggenheim Securities,
Guggenheim Securities, LLC, como banquero de          LLC, as investment banker; (v) Kurtzman Carson
inversión; (v) Kurtzman Carson Consultants LLC,       Consultants LLC, as notice and claims agent; and
como agente de notificaciones y reclamos; y (vi)      (vi) any other legal counsel, accountants, financial
cualesquier otros asesores legales, contadores,       advisors, restructuring advisors or other
financieros, de reestructura u otros profesionales    professionals as the Company, or those
como la Sociedad, o aquellas Personas                 authorized herein to act on behalf of the Company
Autorizadas por medio de la presente para actuar      (collectively, the “Restructuring Advisors”),
en nombre y representación de la Sociedad             deem necessary, appropriate or advisable; in each
(conjuntamente,     los    “Asesores       de   la    case to represent and assist the Company in
Reestructura”), consideren necesario, apropiado       carrying out its respective duties and
o conveniente; en cada caso, para representar y       responsibilities and exercising its respective rights
asistir a la Sociedad en llevar a cabo sus            under the Bankruptcy Code. The Company is
obligaciones y responsabilidades respectivas y        further authorized, through those authorized
ejercer sus derechos bajo el Código de Quiebras.      herein to act on behalf of the Company, to take any
Se autoriza, además, a la Sociedad, a través de       steps necessary or desirable to cause the
aquellas Personas Autorizadas por medio de la         retention of each of the foregoing professional.”
presente para actuar en nombre y representación
de la Sociedad, para llevar a cabo los pasos
necesarios o convenientes para causar la
contratación formal de dichos profesionales.”

    Tercera. Financiación como Deudor en                  Third. Debtor-in-Possession Financing
                  Posesión

3.1 “Se resuelve, que en relación con el Caso         3.1 “It is hereby resolved, that, in connection with
Bajo el Capítulo 11, es en el mayor interés de la     the Chapter 11 Case, it is in the best interest of the
Sociedad que suscriba, y que la Sociedad              Company to engage in, and the Company will
obtendrá beneficios, de las transacciones de          obtain benefits from, the lending transactions
financiación bajo cierto préstamo a término como      under that certain super-priority debtor in
deudor en posesión sujeto a superprioridad (la        possession term loan (the "DIP Financing") to be
"Financiación DIP") a ser formalizado mediante        evidenced by that certain super-priority debtor-in-
cierto contrato de préstamo a término como            possession term loan agreement, note purchase
deudor en posesión sujeto a superprioridad,           agreement, and collateral agency agreement (the
contrato de compra de títulos, y acuerdo de           "DIP Agreements") to be entered into by the
agente     de     garantías(conjuntamente,    los     Company, as borrower, and certain subsidiaries of
"Acuerdos DIP") a ser suscritos por la Sociedad,      the Company listed as “Guarantors” on the
como deudor, y ciertas subsidiarias como              signature pages thereto, BlueTorch Finance LLC
garantes, BlueTorch Finance LLC, como agente          as administrative and collateral agent and
administrativo y agente de garantía (en dicha         administrative agent (in such capacity, the “DIP
capacidad, el “Agente DIP”), cualquier agente de      Agent”), any local collateral agent party thereto,
                                                                                                       3
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garantía local parte del mismo, y los prestamistas   and the lenders from time to time party thereto (the
parte de dichos acuerdos de tiempo en tiempo (los    “DIP Lenders”), subject to approval by the United
“Prestamistas DIP”), sujeto a la aprobación de los   States Bankruptcy Court, which is necessary and
mismos por parte de la el Tribunal de Quiebras de    appropriate to the conduct, promotion, and
los Estados Unidos , cuya suscripción es             attainment of the business of the Company.
necesaria y apropiada a efectos de conducir,
promover y avanzar los negocios de la Sociedad.”

3.2 “Se resuelve, que el formato, los términos y     3.2 “It is hereby resolved, that the form, terms,
las cláusulas de todos y cada uno de los acuerdos    and provisions of each of any and all of the other
de los que es parte la Sociedad, incluyendo, sin     agreements to which the Company is a party,
limitación,    certificados,   documentos       e    including,    without    limitation,   certificates,
instrumentos autorizados, suscritos, entregados,     documents and instruments authorized, executed,
reafirmados, verificados y/o registrados con         delivered, reaffirmed, verified and/or filed in
relación a la Financiación DIP (junto con los        connection with the DIP Financing (together with
Acuerdos DIP, en conjunto denominados los            the DIP Agreements, collectively, the "DIP
"Documentos de la Financiación DIP"), y el           Financing Documents"), and the Company's
cumplimiento de las obligaciones de la Sociedad      performance of its respective obligations
bajo los mismos, incluyendo el otorgamiento de       thereunder, including any guarantees and the
cualquier garantía y derecho de garantía             granting of security interests contemplated
contemplado en los mismos, sean por el presente      thereunder, are hereby, in all respects confirmed,
y a todo efecto aquí confirmados, ratificados y      ratified and approved.
aprobados.”

3.3 “Se resuelve, que James S. Feltman, Gerente      3.3 “It is hereby resolved, that James S.
de Restructuraciones de la Sociedad, y cualquier     Feltman, Chief Restructuring Officer of the
Persona Autorizada, o cualquier agente o             Company, and any Authorized Person by any
apoderado de la Sociedad autorizado por              officer of the Company, or any agent or attorney-
cualquier Persona Autorizada, está y, por ende,      in-fact of the Company authorized by any
cada uno de manera individual se encuentra,          Authorized Person, be, and each of them
autorizado, apoderado y facultado para actuar en     individually hereby is, authorized, empowered,
calidad de representante autorizado de la            and directed, in the name and on behalf of the
Sociedad, a causar que la Sociedad prepare,          Company, to cause the Company to prepare,
celebre y entregue los Documentos de la              execute and deliver the DIP Financing Documents
Financiación DIP de los que es parte la Sociedad,    to which the Company is a party, in the name and
en nombre y por cuenta de la Sociedad bajo su        on behalf of the Company under its corporate seal
sello societario o de cualquier otra manera, y       or otherwise, and such other documents,
aquellos documentos, acuerdos, instrumentos y        agreements, instruments, and certificates as may
certificados que puedan ser requeridos por el        be required by the DIP Agent or required by the
Agente DIP o por los Documentos de la                DIP Financing Documents.”
Financiación DIP.”

3.4 “Se resuelve, que la Sociedad se encuentra       3.4 “It is hereby resolved, that the Company is
autorizada para garantizar, de ser aplicable,        authorized to guarantee, as applicable, any
cualesquiera obligaciones de cualquier parte a los   obligations of any party to the DIP Financing
Documentos de la Financiación DIP y a llevar a       Documents and undertake any and all related
cabo todas y cada una de las transacciones           transactions contemplated under the DIP
contempladas en los Documentos de la                 Financing Documents, including any guarantees,
Financiación DIP, incluyendo el otorgamiento de      personal and in rem, and the granting of security
cualquier garantía, personal y real, y derecho de    interests thereunder.
garantía contemplado en los mismos.


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Así mismo, la Sociedad podrá constituir fiducias        Moreover, the Company is authorized to execute,
mercantiles en garantía para transferir cualquier       amend or terminate any trust agreement in order
clase de activo o flujo que sirva para garantizar el    to transfer any kind of asset or funds flow to secure
cumplimiento de las obligaciones bajo los               all of the obligations under the DIP Financing
Documentos de la Financiación DIP, o dar por            Documents, as well as any pledge agreements,
terminado o modificar cualquier contrato de             mortgages, trusts, among others, over assets of
prenda, hipoteca, fideicomiso, entre otros, sobre       the Company for the same purpose. The Company
activos de la Sociedad para cumplir con dicha           is also authorized to amend or terminate anv
finalidad. La Sociedad también podrá modificar o        existing security agreement in order to secure all
dar por terminado cualquier contrato de garantía        of the obligations under the DIP Financing
existente con el propósito de que los mismos            Documents. The Company is authorized to
garanticen las obligaciones bajo los Documentos         execute any guarantee agreement over its assets,
de la Financiación DIP. La Sociedad podrá               including but not limited to, share pledge
suscribir cualesquier acuerdos de garantía y            agreements, trademarks pledge agreements,
constitución de gravámenes sobre sus bienes,            fiduciary rights pledge agreements, checking or
incluyendo, pero sin limitarse, a, contratos de         savings accounts control agreements, conditional
prenda sobre acciones, contratos de prenda sobre        assignment      of    residual     payment      rights
marcas, contratos de prenda sobre derechos              agreements, or any other pledge agreement over
fiduciarios, contratos de control de cuentas            the assets of the Company. The Company is also
bancarias corrientes o de ahorros, contratos de         authorized to terminate or amend any existing
cesión condicional de derechos de pagos                 pledge agreement over the assets of the Company
residuales, o cualquier otra contrato de prenda
sobre activos de la Sociedad, o modificar o dar por
terminado cualquier contrato existente de prenda
sobre activos de la Sociedad

3.5 “Se resuelve, que cualquier Persona                 3.5 “It is hereby resolved, that any Authorized
Autorizada, o cualquier agente o apoderado de la        Person, or any agent or attorney-in-fact of the
Sociedad autorizado por cualquier Persona               Company authorized by any Authorized Person, is
Autorizada se encuentra autorizado por el               hereby authorized to guarantee and grant security
presente para otorgar garantías y derechos de           interests in, and liens on, any and all property of
garantía respecto a, y constituir gravámenes            the Company, including without limitation, pledges
sobre, todos y cualquier uno de los bienes de la        and I or mortgages of shares, intellectual property
Sociedad, incluyendo sin Iimitación, prendas y/o        rights, immovable or moveable property, as
hipotecas sobre acciones, propiedad intelectual,        collateral pursuant to the DIP Financing
bienes inmuebles, o bienes muebles, como                Documents to secure all of the obligations and
garantía de conformidad con los Documentos de           liabilities of the Company thereunder and the other
la Financiación DIP para garantizar todas las           parties to the DIP Financing Documents to the DIP
obligaciones y adeudos de la Sociedad y de las          Lenders and the DIP Agent, and to authorize,
demás partes de los Documentos de la                    execute, verify, file and/or deliver to the DIP Agent,
Financiación DIP a favor de los Prestamistas DIP        on behalf of the Company, all agreements,
y el Agente DIP, y a autorizar, suscribir, verificar,   documents and instruments required by the DIP
registrar y/o entregar al Agente DIP, en nombre de      Agent and/or the DIP Lenders in connection with
la Sociedad, todos los acuerdos, documentos e           the foregoing.
instrumentos requeridos por el Agente DIP y/o los
Prestamistas DIP con relación a los documentos
antedichos.

3.6 “Se resuelve, que cualquier Persona                 3.6 “It is hereby resolved, that any Authorized
Autorizada, o cualquier agente o apoderado de la        Person, or any agent or attorney-in-fact of the
Sociedad autorizado por cualquier Persona               Company authorized by any Authorized Person, is
Autorizada, se encuentra autorizado, apoderado y        hereby authorized, empowered, and directed, in
                                                                                                         5
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facultado, en nombre y por cuenta de la Sociedad,     the name and on behalf of the Company, to take
a llevar a cabo cualquier acto adicional,             all such further actions, including to pay all fees
incluyendo el pago de honorarios y gastos,            and expenses, in accordance with the terms of the
conforme a los términos de los Documentos de la       DIP Financing Documents, which shall, in such
Financiación DIP, que sean, a exclusivo criterio de   Authorized Person's sole judgment, be necessary,
la Persona Autorizada, necesarios, apropiados o       proper, or advisable to perform such Company's
aconsejables para que la Sociedad desempeñe           obligations under or in connection with the DIP
sus obligaciones bajo o con relación a los            Financing Documents and the transactions
Documentos de la Financiación DIP y a las             contemplated therein and to carry out fully the
transacciones contempladas en los mismos, y a         intent of the foregoing resolutions.”
realizar los actos necesarios de conformidad con
la intención de las resoluciones precedentes.”

3.7 “Se resuelve, que cualquier Persona               3.7 “It is hereby resolved, that any Authorized
Autorizada, o cualquier agente o apoderado de la      Person, or any agent or attorney-in-fact of the
Sociedad autorizado por cualquier Persona             Company authorized by any Authorized Person, is
Autorizada, se encuentra autorizado, apoderado y      hereby authorized, empowered, and directed, in
facultado, en nombre y por cuenta de la Sociedad,     the name and on behalf of the Company, to
a suscribir y entregar cualesquiera enmiendas,        execute     and   deliver   any   amendments,
suplementos, modificaciones, renovaciones,            supplements,       modifications,      renewals,
reemplazos, consolidaciones, sustituciones y          replacements, consolidations, substitutions and
extensiones de los Documentos de la                   extensions of the DIP Financing Documents,
Financiación DIP que sean, a exclusivo criterio de    which shall, in such Authorized Person's sole
la Persona Autorizada, necesarios, deseables,         judgment, be necessary, desirable, proper or
apropiados o aconsejables.”                           advisable.”

3.8 “Se resuelve, que todo acto previo adoptado       3.8 “It is hereby resolved, all action heretofore
por dichas personas y con relación a los              taken by such persons and in connection with the
considerandos y resoluciones precedentes sea, y       foregoing recitals and resolutions be, and it hereby
por la presente se encuentra aprobado, ratificado     is, approved, ratified and confirmed in all respects
y confirmado en todo respecto como un acto de la      as the act and deed of the Company, it being
Sociedad, entendiéndose que cualesquiera              understood that any such actions undertaken prior
dichos actos llevados a cabo con antelación a la      to the date hereof by any officer of the Company,
fecha del presente por cualquier funcionario de la    the Authorized Persons, or any agent or attorney-
Sociedad, las Personas Autorizadas, o cualquier       in-fact of the Company authorized by any
agente u apoderado de la Sociedad autorizado por      Authorized Person, in connection with the
cualquier Persona Autorizada, con relación a las      foregoing, are hereby duly ratified.”
transacciones enumeradas precedentemente, son
ratificados por el presente.”

3.9 “Se resuelve, en virtud de lo anterior, y         3.9 “It is hereby resolved, in virtue of the above,
considerando que es necesario y conveniente           and considering that it is necessary and
nombrar a un “representante extranjero” de la         convenient to appoint a foreign representative
Sociedad, nombrar a la Persona Autorizada, como       (representante extranjero) of the Company, the
representante de la Sociedad para cualquier           Company hereby approves the appointment of the
procedimiento en el extranjero en relación con la     Authorized Person, as representative of the
Sociedad, incluyendo, sin limitar, como               Company for any proceeding abroad in connection
representante extranjero del Procedimiento de         with the Company, including, without limitation, to
Reestructura EUA ante otras cortes o jueces           act as a foreign representative of the U.S.
extranjeros.”                                         Restructuring Proceeding before other foreign
                                                      courts or judges.”
                                                                                                     6
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3.10 “Se resuelve, en este acto, otorgar los            3.10 “It is hereby resolved to grant the necessary
poderes necesarios en favor de la Persona               powers-of-attorney in favor of the Authorized
Autorizada, así como a los despachos Hughes             Person, as well as the law firms Hughes Hubbard
Hubbard & Reed LLP, Potter Anderson & Corroon           & Reed LLP, Potter Anderson & Corroon LLP, and
LLP, y Garrigues México, S.C., para poder actuar,       Garrigues México, S.C., to act, either jointly or
conjunta o separadamente, indistintamente, en           severally, indistinctively, in the name and on behalf
nombre y representación de la Sociedad, y demás         of the Company and controlled subsidiaries, in any
sociedades controladas, en el Procedimiento de          proceeding in the United States of America
Reestructuras EUA y en cualquier procedimiento          (including in the U.S. Restructuring Proceeding)
en los Estados Unidos de América, y en cualquier        and in any other jurisdiction, in connection to, or
otra jurisdicción, en relación con, o derivado de, la   derived from, the operative, legal and financial
reestructura operativa, legal y financiera de la        restructuring of the Company and controlled
Sociedad y empresas controladas.                        subsidiaries.

Para poder llevar a cabo los actos antes                In order to carry out the aforementioned acts on
mencionados en representación de la Sociedad,           behalf of the Company without affecting the
sin perjuicio de la especialidad o generalidad de       specificity or generality of the authority granted in
las facultades otorgadas, las cuales se entienden       the paragraph above, which are understood as
otorgadas exclusivamente para la celebración de         granted exclusively for acts related to any
actos relacionados con cualquier procedimiento          proceeding abroad of the Company, the
de la Sociedad en el extranjero, la Persona             Authorized Person, as well as the law firms
Autorizada, así como a los despachos Hughes             Hughes Hubbard & Reed LLP, Potter Anderson &
Hubbard & Reed LLP, Potter Anderson & Corroon           Corroon LLP, and Garrigues México, S.C., shall be
LLP, y Garrigues México, S.C., tendrán, conjunta        vested, either jointly or severally, indistinctively,
o separadamente, indistintamente, facultades            with general powers-of-attorney for lawsuits and
generales para pleitos y cobranzas y actos de           collections and acts of administration, with all the
administración, con todas las facultades                general authorities and even the special
generales y aún con las especiales que de               authorities that pursuant to the law require a
acuerdo con la ley requieran poder o cláusula           special authority or clause, in terms of the first and
especial, en los términos del primer y segundo          second paragraphs of article 2554 (two thousand
párrafo del artículo 2554 (dos mil quinientos           five hundred and fifty four) of the Federal Civil
cincuenta y cuatro) del Código Civil Federal, así       Code, as well as the correlatives of the Civil Codes
como en los correlativos de los Códigos Civiles de      of the states of the Mexican Republic and Mexico
las entidades federativas de la República               City and/or any other applicable law.”
Mexicana y de la Ciudad de México y/o en
cualquier otra legislación aplicable.”




 3.11 “Se resuelve, que, para efectos de claridad,      3.11 “It is hereby resolved, for clarification
 la Persona Autorizada, así como los despachos          purposes, that the Authorized Person, as well as
 Hughes Hubbard & Reed LLP, Potter Anderson             the law firms Hughes Hubbard & Reed LLP, Potter
 & Corroon LLP, y Garrigues México, S.C., están         Anderson & Corroon LLP, and Garrigues México,
 autorizados    para     actuar,    conjunta     o      S.C., are authorized to act, either jointly or
 separadamente, indistintamente, conforme al            severally, indistinctively, under this power-of-
                                                                                                   7
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 presente poder y/o cualquier otro otorgado a su      attorney and/or any other that has been granted to
 favor con anterioridad que se encuentre vigente      them previously and which remains valid and in
 para     la  ejecución,    implementación     e      effect for the execution and implementation of all
 instrumentación de todos los actos necesarios        actions needed in order to comply with the above
 para el cumplimiento de las resoluciones             resolutions.”
 anteriores.”

        Cuarta. Otorgamiento de Poderes                   Fourth. Granting of powers of attorney

4. “Se resuelve, otorgar a favor del CRO y de         4. “It is hereby resolved to grant in favor of the
cada Persona Autorizada, un poder general para        CRO and each Authorized Person, a general
ser ejercido en forma conjunta o individual,          power of attorney to be exercised either jointly or
indistintamente, con las siguientes facultades:       individually, indistinctively, with the following
                                                      faculties:

a) Pleitos y cobranzas, con todas las facultades      a) Lawsuits and collections, with all the general
generales y aún con las especiales que de             authorities and even the special authorities that
acuerdo con la ley requieran poder o cláusula         pursuant to the law require a special authority or
especial, en los términos del párrafo primero del     clause, in terms of the first paragraph of article two
artículo dos mil quinientos cincuenta y cuatro del    thousand five hundred fifty-four of the Civil Code
Código Civil para el Distrito Federal y de su         for the Federal District and the corresponding
correlativo de los demás Códigos Civiles de los       articles of the other Civil Codes of the States of the
Estados de la República Mexicana y del Código         Mexican Republic and the Federal Civil Code.
Civil Federal.

De manera enunciativa y no limitativa, se Including without                   limitation   the    following
mencionan, entre otras facultades, las siguientes: authorities:

  i)    Para intentar y desistirse de toda clase de      i)    To seek or desist any kind of proceedings,
        procedimientos, inclusive de amparo.                   including amparo.

  ii)   Para transigir.                                  ii)   To in-court compromise.

  iii) Para comprometer en árbitros.                     iii) To compromise in arbitration.

  iv) Para absolver y articular posiciones.              iv) To absolve and ask oral testimony.

  v)    Para recusar.                                    v)    To recuse.

  vi) Para recibir pagos y para pagar y ordenar          vi) To receive payments and to pay and direct
      el pago de (i) todos los honorarios, gastos            payment of (i) all fees, expenses, and other
      y otros costos permitidos por la ley                   costs permitted under applicable law in
      aplicable en relación con el curso ordinario           connection with the ordinary course of
      de las operaciones de la Sociedad durante              operations of the Company during the
      el Capítulo 11 del Caso o cualquier asunto             Chapter 11 Case or any matter related
      relacionado con el mismo, y (ii) todos los             thereto, and (ii) all fees, expenses, and

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       honorarios, gastos y otros costos                       other costs permitted under applicable law
       permitidos por la ley aplicable en relación             in connection with the Chapter 11 Case
       con el Caso del Capítulo 11 y la                        and the administration thereof.
       administración del mismo.

  vii) Para presentar denuncias y querellas en            vii) To file for any criminal proceeding and
       materia penal y para otorgar el perdón                  grant pardon when permitted, pursuant to
       cuando lo permita la ley.                               the law.

  viii) Para someter controversias a arbitraje.           viii) To subject dispute resolutions to arbitration
                                                                proceedings.

  ix) Para hacer cesión de bienes.                        ix) To assign property.

  x)   Para autorizar mandatarios judiciales en           x)   To authorize in court attorneys in terms
       los términos a que se refieren los artículos            provided by paragraph third of article 1069
       1069, párrafo tercero del Código de                     of the Commerce Code (Código de
       Comercio; 112, párrafo cuarto del Código                Comercio), fourth paragraph of article 112
       de Procedimientos Civiles para el Distrito              of the Code of Civil Proceedings for the
       Federal; 12 de la Ley de Amparo, y sus                  Federal District (Código Federal de
       correlativos en las demás legislaciones                 Procedimientos Civiles), Article 12 of the
       que resulten aplicables.                                Amparo Law (Ley de Amparo), and their
                                                               corresponding sections of any other
                                                               statues as applicable.

  xi) Para otorgar y revocar poderes generales            xi) To grant and revoke general powers for
      para pleitos y cobranzas, con o sin                     lawsuits and collections, with or without the
      facultades especiales antes descritas.                  special authorities herein described.

  xii) Para solicitar pruebas y evidencia.                xii) To request evidence.

  xiii) Para solicitar cualquier tipo de protección,      xiii) To request any type of relief, including
        incluyendo       medidas       precautorias,            injunctive relief.
        cautelares o provisionales.

b) Actos de administración, en los términos del        b) Acts of administration in terms of the second
párrafo segundo del artículo dos mil quinientos        paragraph of article two thousand five hundred
cincuenta y cuatro del Código Civil Federal, y sus     fifty-four of the Federal Civil Code and the
correlativos de los Códigos Civiles de los Estados     corresponding articles of the Civil Codes of the
de la República Mexicana y la Ciudad de México.”       Estates of the Mexican Republic and Mexico City.”

        Quinta. Delegados Especiales                               Fifth. Special Delegates

5. “Se resuelve designar como delegados 5. “It is hereby resolved to appoint [], Gabriela
especiales a [], Gabriel Pérez Sierra, José Pérez Sierra, José Rodrigo Durán de la Vega,
Rodrigo Durán de la Vega, Íñigo Rodríguez Íñigo Rodríguez Garduño y María Isabel Melgoza
                                                                                                        9
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Garduño y María Isabel Melgoza Fernández, para        Fernández, as special delegates, so that, if
que, en su caso, cualesquiera de ellos, conjunta o    necessary, any one of them, jointly or severally,
separadamente, realicen todos los actos que sean      may take any actions necessary or convenient for
necesarios o convenientes para el eficaz              the compliance and formalization of all resolutions
cumplimiento y formalización de las resoluciones      hereby taken by the Company including appearing
adoptadas por la Sociedad en este acto,               before the Notary Public of their choice in order to
incluyendo comparecer ante el Notario Público de      obtain the formalization of all or a part of this
su elección con el fin de protocolizar todo o parte   document and to register the corresponding deed
del presente documento, e inscriban el testimonio     at the Public Registry of Commerce of the domicile
correspondiente en el Registro Público de             of the Company, should the case be.
Comercio del domicilio social de la Sociedad, en
su caso.

                 Sexta. General                                         Sixth. General

6.1 “Se resuelve, que éstas resoluciones              6.1 “It is hereby resolved, that these resolutions
unánimes se suscriben en inglés y español;            are executed in both the English and Spanish
ambas versiones obligan a los firmantes, en el        languages; both versions are binding for the
entendido, sin embargo, que, en caso de               undersigned, provided, however, that in the event
discrepancia entre ambas, prevalecerá la versión      of any discrepancy between them, the Spanish
en español.”                                          version shall prevail.”

6.2 “Se resuelve, que todas los actos, acciones y     6.2 “It is hereby resolved, that all acts, actions
transacciones relacionadas con las decisiones         and transactions relating to the matters
tomadas en nombre y representación de la              contemplated by the foregoing resolutions done in
Sociedad, han sido aprobadas por medio de las         the name of and on behalf of the Company, which
decisiones y resoluciones anteriores, con             acts would have been approved by the foregoing
excepción de las actos que hayan sido llevados a      resolutions except that such acts were taken
cabo antes de la adopción de esta resolución, las     before the adoption of these resolutions, are
cuales se entienden en todo caso aquí aprobados       hereby in all respects approved and ratified as the
y ratificados como actos ciertos y vinculantes para   true acts and deeds of the Company with the same
la Sociedad, como si dicho acuerdo, transacción,      force and effect as if each such act, transaction,
acuerdo o certificado hubiera sido autorizado         agreement or certificate had been specifically
previamente a través de una resolución por cada       authorized in advance by resolution by each of the
accionista de la Sociedad.”                           shareholders of the Company.”

6.3 “Se resuelve, que estas resoluciones podrán       6.3 “It is hereby resolved, that these resolutions
ser firmadas en múltiples contrapartes y vía          may be executed and delivered in multiple
facsímile o cualquier otro medio electrónico, todas   counterparts and via facsimile or other electronic
las cuales, consideradas en su conjunto, se           means, all of which taken together shall constitute
entenderán como un único instrumento.”                one and the same instrument.”

Las resoluciones anteriores han sido adoptadas        The preceding resolutions have been adopted by
por el consentimiento unánime por escrito de la       the unanimous written consent of all the
totalidad de los accionistas de la Sociedad y están   shareholders of the Company and are duly signed
debidamente firmadas por los representantes           by the authorized representatives of each of the
autorizados de cada accionista de la Sociedad.        shareholders of the Company.


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Firma de las Resoluciones Unánimes de los Signature page of the Unanimous Resolutions by
Accionistas de Facultas Analytics, S.A.P.I. DE the Shareholders of Facultas Analytics, S.A.P.I.
C.V., de 27 de agosto de 2023.                 DE C.V., dated August 27, 2023.

El suscrito, en nombre y representación IT          The undersigned, in name and on behalf of IT
Global Holding LLC, confirmo y ratifico cada        Global Holding LLC, hereby confirm and ratify
una de las resoluciones adoptadas de forma          each of the resolutions unanimously adopted by u
nánime por los accionistas de la Sociedad el día   the shareholders of the Company on August 27,
de 27 de agosto de 2023.                           2023.

IT Global Holding LLC                              IT Global Holding LLC

                    , CRO                                              , CRO
______________________________________             _______________________________________
Por / By: James S. Feltman                         Por / By: James S. Feltman
Cargo / Title: Director de reestructuración        Cargo / Title: Chief Restructuring Officer

El suscrito, en nombre y representación de         The undersigned, in name and on behalf of
AgileThought Digital Solutions, S.A.P.I. DE        AgileThought Digital Solutions, S.A.P.I. DE
C.V., confirmo y ratifico cada una de las          C.V., hereby confirm and ratify each of the
resoluciones adoptadas de forma unánime por        resolutions unanimously adopted by the
los accionistas de la Sociedad el día de 27 de     shareholders of the Company on August 27,
agosto de 2023.                                    2023.

AgileThought Digital Solutions, S.A.P.I. DE        AgileThought Digital Solutions, S.A.P.I. DE
C.V.                                               C.V.

                  , CRO                                              , CRO
______________________________________             _______________________________________
Por / By: James S. Feltman                         Por / By: James S. Feltman
Cargo / Title: Director de reestructuración        Cargo / Title: Chief Restructuring Officer




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